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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AARON RICH,                                                 Case No. 1:18-cv-00681-RJL
                                                            Honorable Richard J. Leon
       Plaintiff,

v.


EDWARD BUTOWSKY,
MATTHEW COUCH,
AMERICA FIRST MEDIA,

       Defendants.



                    ERRATA – DEPOSITION TRANSCRIPT OF LARRY JOHNSON

       Notice is hereby given the Deposition Transcript of Larry Johnson was rejected by the

ECF filing system on the night of May 4, 2020 because the PDF document could not be read by

the electronic filing system. As a result, Exhibit 2 – Larry Johnson Deposition Transcript was

omitted from the filing under seal of Mr. Johnson’s Opposition to Motion to Compel and Cross-

Motion for Protective Order and Sanctions. The Deposition Transcript was subsequently printed

out and scanned manually as a new PDF document, and is being refiled under seal.

Dated: May 5, 2020

                                                    QUAINTON LAW, PLLC

                                                     /s/ Eden Quainton___________________
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